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From: Lostracco, Karen L.
Sent: Thursday, January 16, 2014 11:44 AM
To: Pilger, Richard (CRM)
Cc: Sahaghian, Manik; Pollack, Jeffrey L.; Lovett, Joshua D.
Subject: RE: Attorney Client Communications on iPhone and Latop

Rich,
Below is the information provided by Dimitri Kesari’s attorney, Jesse Binnall, with regard to email
  addresses and telephone numbers for use in our efforts to segregate potentially privileged
  information.  These terms have been provided to the CART agent processing the
  computer/electronic evidence provided by Mr. Kesari.  These terms will be run and any hits will be
  segregated and blocked from the view of the Case Agents prior to the Case Agents having access to
  the evidence.  However, in the instance a potentially privileged document /communication is
  discovered that was not somehow captured by this process, the Case Agents will immediately stop
  review, “bookmark” the item in the computer review system, notify DOJ PIN and also notify the
  CART examiner so the potentially privileged item can be removed from the Case Agent’s view. 
Karen
 
From: Sahaghian, Manik
Sent: Thursday, January 16, 2014 8:24 AM
To: 'jbinnall@bblawonline.com'
Cc: Lostracco, Karen L.; Pilger, Richard (CRM)
Subject: Re: Attorney Client Communications on iPhone and Latop

Thank you.
Manik Sahaghian, Special Agent
FBI Washington Field Office




From: Jesse R. Binnall <jbinnall@bblawonline.com>
To: Sahaghian, Manik
Sent: Thu Jan 16 08:13:44 2014
Subject: Attorney Client Communications on iPhone and Latop

Agent Sahaghian,
 
All text messages that Mr. Kesari had with my cell phone (703) 582-7924 are
  protected by the attorney-client privilege.  All emails with jbinnall@bblawonline.com,
 jesse.binnall@             , or any other @bblawonline.com address are similarly
  protected.  I meant to give you this information yesterday.  Please verify that you
  received this information.  Thanks.
 
Jesse 
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